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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                              )
    UNITED STATES OF AMERICA,                 )
                                              )         Case No. 1:22-cv-02292-CKK
                     v.                       )
                                              )
          PETER K. NAVARRO,                   )
                                              )
                Defendant.                    )
                                              )

                          NOTICE OF APPEARANCE OF COUNSEL

       Notice is hereby given that Stan M. Brand of Brand Woodward Law, LP enters his

appearance as counsel for Defendant, Dr. Peter K. Navarro.



 Dated: October 21, 2022                  Respectfully submitted,

                                                 /s/ Stan M. Brand
                                          Stan M. Brand (D.C. Bar No. 213082)
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                                          Counsel for Defendant Peter K. Navarro
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                                  CERTIFICATE OF SERVICE

        On October 21, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
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